             Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 1 of 16



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
STATE OF ILLINOIS,
COMMONWEALTH OF PENNSYLVANIA,
and
COMMONWEALTH OF VIRGINIA

               Plaintiffs,
                                                           No. 1:19-cv-2295 (DLF)
      v.

NEXSTAR MEDIA GROUP, INC.,
and TRIBUNE MEDIA
COMPANY,

                Defendants.


                               HOLD SEPARATE STIPULATION AND ORDER

            It is hereby stipulated and agreed by and between the undersigned parties, subject to

  approval and entry by the Court, that:

                                             I. DEFINITIONS

            As used in this Stipulation and Order:

       A.        “Acquirer” means Scripps, TEGNA, Circle City Broadcasting, or any other entity or

entities to which Defendants divest any of the Divestiture Assets.

       B.        The “Big 4” television networks mean the NBC, CBS, ABC, and FOX networks.

       C.        “Circle City Broadcasting” means Circle City Broadcasting I, Inc., a Delaware

corporation headquartered in Indianapolis, Indiana, its successors and assigns, and its subsidiaries,

divisions, groups, affiliates, partnerships, and joint ventures, and their directors, members, officers,

managers, agents, and employees.



                                                     1
            Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 2 of 16



       D.      “Divestiture Assets” means the Divestiture Stations and all assets, tangible or

intangible, necessary for the operation of the Divestiture Stations as viable, ongoing commercial

broadcast television stations, including, but not limited to, all real property (owned or leased), all

broadcast equipment, office equipment, office furniture, fixtures, materials, supplies, and other

tangible property relating to the Divestiture Stations; all licenses, permits, and authorizations issued

by, and applications submitted to, the FCC and other government agencies relating to the Divestiture

Stations; all contracts (including programming contracts and rights), agreements, network affiliation

agreements, leases, and commitments and understandings of Defendants relating to the Divestiture

Stations; all trademarks, service marks, trade names, copyrights, patents, slogans, programming

materials, and promotional materials relating to the Divestiture Stations; all customer lists, contracts,

accounts, and credit records relating to the Divestiture Stations; all logs and other records maintained

by Defendants in connection with the Divestiture Stations; and the content and affiliation of each

digital subchannel of the Divestiture Stations.

       E.      “Defendants” means Nexstar and Tribune.

       F.      “Divestiture Stations” means KCWI-TV, KFSM-TV, KSTU, WATN-TV, WCCT-TV,

WGNT, WISH-TV, WLMT, WNDY-TV, WNEP-TV, WOI-DT, WPMT, WQAD-TV, WTIC-TV,

WTKR, WTVR-TV, WXMI, and WZDX.

       G.      “DMA” means Designated Market Area as defined by The Nielsen Company (US),

LLC, based upon viewing patterns and used by BIA Advisory Services’ Investing in Television

Market Report 2018 (4th edition).

       H.      “FCC” means the Federal Communications Commission.

       I.      “KCWI-TV” means the CW-affiliated broadcast television station bearing that call

sign located in the Des Moines-Ames, Iowa, DMA, owned by Defendant Nexstar.



                                                     2
             Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 3 of 16



       J.      “KFSM-TV” means the CBS-affiliated broadcast television station bearing that call

sign located in the Ft. Smith-Fayetteville-Springdale-Rogers, Arkansas, DMA, owned by Defendant

Tribune.

       K.      “KSTU” means the FOX-affiliated broadcast television station bearing that call sign

located in the Salt Lake City, Utah, DMA, owned by Defendant Tribune.

       L.      “MVPD” means multichannel video programming distributor.

       M.      “Nexstar” means defendant Nexstar Media Group, Inc., a Delaware corporation

headquartered in Irving, Texas, its successors and assigns, and its subsidiaries, divisions, groups,

affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and

employees.

       N.      The “Overlap DMAs” means the following thirteen DMAs: Davenport, Iowa-Rock

Island-Moline, Illinois; Des Moines-Ames, Iowa; Ft. Smith-Fayetteville-Springdale-Rogers,

Arkansas; Grand Rapids-Kalamazoo-Battle Creek, Michigan; Harrisburg-Lancaster-Lebanon-York,

Pennsylvania; Hartford-New Haven, Connecticut; Huntsville-Decatur-Florence, Alabama;

Indianapolis, Indiana; Memphis, Tennessee; Norfolk-Portsmouth-Newport News, Virginia;

Richmond-Petersburg, Virginia; Salt Lake City, Utah; Wilkes Barre-Scranton, Pennsylvania.

       O.      “Scripps” means the E.W. Scripps Company, an Ohio corporation headquartered in

Cincinnati, Ohio, its successors and assigns, and its subsidiaries, divisions, groups, affiliates,

partnerships, and joint ventures, and their directors, officers, managers, agents, and employees.

       P.      “TEGNA” means TEGNA Inc., a Delaware corporation headquartered in McLean,

Virginia, its successors and assigns, and its subsidiaries, divisions, groups, affiliates, partnerships, and

joint ventures, and their directors, officers, managers, agents, and employees.

       Q.      “Tribune” means defendant Tribune Media Company, a Delaware corporation

headquartered in Chicago, Illinois, its successors and assigns, and its subsidiaries, divisions,
                                                     3
            Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 4 of 16



groups, affiliates, partnerships, and joint ventures, and their directors, officers, managers,

agents, and employees.

       R.      “WATN-TV” means the ABC-affiliated broadcast television station bearing

that call sign located in the Memphis, Tennessee, DMA, owned by Defendant Nexstar.

       S.      “WCCT-TV” means the CW-affiliated broadcast television station bearing that

call sign located in the Hartford-New Haven, Connecticut, DMA, owned by Defendant

Tribune.

       T.      “WGNT” means the CW-affiliated broadcast television station bearing that call

sign located in the Norfolk-Portsmouth-Newport News, Virginia, DMA, owned by

Dreamcatcher Broadcasting LLC, regarding which Tribune will exercise its option to acquire

from Dreamcatcher Broadcasting LLC.

       U.      “WISH-TV” means the CW-affiliated broadcast television station bearing that call

sign located in the Indianapolis, Indiana, DMA, owned by Defendant Nexstar.

       V.      “WLMT” means the CW-affiliated broadcast television station bearing that call

sign located in the Memphis, Tennessee, DMA, owned by Defendant Nexstar.

       W.      “WNDY-TV” means the MyNetworkTV-affiliated broadcast television station

bearing that call sign located in the Indianapolis, Indiana, DMA, owned by Defendant Nexstar.

       X.      “WNEP-TV” means the ABC-affiliated broadcast television station bearing that

call sign located in the Wilkes Barre-Scranton, Pennsylvania, DMA, owned by Dreamcatcher

Broadcasting LLC, regarding which Tribune will exercise its option to acquire from Dreamcatcher

Broadcasting LLC.

       Y.      “WOI-DT” means the ABC-affiliated broadcast television station bearing that call

sign located in the Des Moines-Ames, Iowa, DMA, owned by Defendant Nexstar.

                                                     4
             Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 5 of 16



       Z.      “WPMT” means the FOX-affiliated broadcast television station bearing that call

sign located in the Harrisburg-Lancaster-Lebanon-York, Pennsylvania DMA, owned by Defendant

Tribune.

       AA.     “WQAD-TV” means the ABC-affiliated broadcast television station bearing that

call sign located in the Davenport, Iowa-Rock Island-Moline, Illinois, DMA, owned by Defendant

Tribune.

       BB.     “WTIC-TV” means the FOX-affiliated broadcast television station bearing that call

sign located in the Hartford-New Haven, Connecticut, DMA, owned by Defendant Tribune.

       CC.     “WTKR” means the CBS-affiliated broadcast television station bearing that call

sign located in the Norfolk-Portsmouth-Newport News, Virginia, DMA, owned by Dreamcatcher

Broadcasting LLC, regarding which Tribune will exercise its option to acquire from Dreamcatcher

Broadcasting LLC.

       DD.     “WTVR-TV” means the CBS-affiliated broadcast television station bearing that

call sign located in the Richmond-Petersburg, Virginia, DMA, owned by Defendant Tribune.

       EE.     “WXMI” means the FOX-affiliated broadcast television station bearing that call

sign located in the Grand Rapids-Kalamazoo-Battle Creek, Michigan, DMA, owned by Defendant

Tribune.

       FF.     “WZDX” means the FOX-affiliated broadcast television station bearing that call

sign located in the Huntsville-Decatur-Florence, Alabama, DMA, owned by Defendant Nexstar.

                                            II. OBJECTIVES

       A.      The Final Judgment filed in this case is meant to ensure Defendants’ prompt

divestitures of the Divestiture Assets for the purpose of preserving competition in (a) the licensing of

Big 4 television network content to MVPDs for distribution to their subscribers (“retransmission

                                                    5
             Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 6 of 16



consent”) in the Overlap DMAs, and (b) the sale of broadcast television spot advertising in the

Overlap DMAs, in order to remedy the anticompetitive effects that Plaintiffs allege would otherwise

result from Nexstar’s proposed merger with Tribune.

       B.        The United States has determined, for the purposes of this settlement, that: Scripps is

an acceptable purchaser of the Divestiture Assets related to KSTU, WGNT, WTKR, WTVR-TV, and

WXMI; TEGNA is an acceptable purchaser of the Divestiture Assets related to KFSM-TV, KCWI-

TV, WATN-TV, WCCT-TV, WLMT, WOI-DT, WNEP-TV, WPMT, WQAD, WTIC-TV and

WZDX; and Circle City Broadcasting is an acceptable purchaser of the Divestiture Assets related to

WISH-TV and WNDY-TV.

       C.        This Hold Separate Stipulation and Order ensures that, prior to the consummation of

 the ordered divestitures, the Divestiture Assets currently owned respectively by Nexstar and Tribune

 remain independent, economically viable and ongoing business concerns that will remain

 uninfluenced by the other Defendant, and that the level of competition that existed between the

 Defendants prior to the transaction is maintained during the pendency of the ordered divestitures.

                                     III. JURISDICTION AND VENUE

            The Court has jurisdiction over the subject matter of this action and over each of the parties

  hereto, and venue is proper in the United States District Court for the District of Columbia.

  Defendants waive service of summons of the Complaint and accept electronic service of all

  pleadings.

                   IV. COMPLIANCE WITH AND ENTRY OF FINAL JUDGMENT

       A.        The parties stipulate that a Final Judgment in the form attached hereto as Exhibit A

 may be filed with and entered by the Court upon the motion of any party, or upon the Court’s own

 motion, at any time after compliance with the requirements of the Antitrust Procedures and Penalties

 Act (“APPA”), 15 U.S.C. § 16, and without further notice to any party or other proceedings,
                                                     6
            Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 7 of 16



 provided that the United States has not withdrawn its consent, which it may do at any time before the

 entry of the proposed Final Judgment by serving notice thereof on Defendants and by filing that

 notice with the Court. Defendants agree to arrange, at their expense, publication as quickly as

 possible of the newspaper notice required by the APPA, which shall be drafted by the United States

 in its sole discretion. The publication shall be arranged no later than three business days after

 Defendants’ receipt from the United States of the text of the notice and identity of the newspaper or

 newspapers within which the publication shall be made. Defendants shall promptly send to the

 United States (1) confirmation that publication of the newspaper notice has been arranged, and (2)

 the certification of the publication prepared by the newspaper or newspapers within which the notice

 was published.

       B.      Defendants shall abide by and comply with the provisions of the proposed Final

Judgment pending the Judgment’s entry by the Court, or until expiration of time for all appeals of any

Court ruling declining entry of the proposed Final Judgment, and shall, from the date of the signing of

this Stipulation by the parties, comply with all the terms and provisions of the proposed Final

Judgment. The United States shall have the full rights and enforcement powers in the proposed Final

Judgment, including Section X (Compliance Inspection), as though the same were in full force and

effect as the Final order of the Court.

       C.      Defendants shall not consummate the transaction sought to be enjoined by the

Complaint before the Court has signed this Hold Separate Stipulation and Order.

       D.      This Stipulation shall apply with equal force and effect to any amended proposed Final

Judgment agreed upon in writing by the parties and submitted to the Court.

       E.      In the event (1) the United States has withdrawn its consent, as provided in Section

IV(A) above, or (2) the proposed Final Judgment is not entered pursuant to this Stipulation, the time

has expired for all appeals of any Court ruling declining entry of the proposed Final Judgment, and
                                                    7
             Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 8 of 16



the Court has not otherwise ordered continued compliance with the terms and provisions of the

proposed Final Judgment, then the parties are released from all further obligations under this

Stipulation, and the making of this Stipulation shall be without prejudice to any party in this or any

other proceeding.

       F.       Defendants represent that the divestitures required in the proposed Final Judgment can

and will be made, and that Defendants will not later raise any claim of mistake, hardship, or difficulty

of compliance as grounds for asking the Court to modify any of the provisions contained therein.

                                  V. HOLD SEPARATE PROVISIONS

            Until the divestitures required by the Final Judgment have been accomplished:

       A.       Defendants shall preserve, maintain, and continue to operate each Divestiture Station

as an independent, ongoing, economically viable competitive business, with the management, sales,

and operations of each station held entirely separate, distinct, and apart from those of Defendants’

other operations. Defendants shall not coordinate the production, marketing, or terms of sale of any

products or services with those produced by, provided by, or sold under any of the Divestiture

Stations. Defendants shall take all steps necessary to preserve and maintain the value and goodwill of

each Divestiture Station. Within twenty calendar days after the entry of the Hold Separate Stipulation

and Order, Defendants will inform the United States and the Plaintiff States of the steps Defendants

have taken to comply with this Hold Separate Stipulation and Order.

       B.       Defendants shall take all steps necessary to ensure that (1) the Divestiture Stations will

be maintained and operated as independent, ongoing, economically viable, and active competitors in

the business of licensing retransmission consent to MVPDs and in the broadcast television spot

advertising business; (2) each of Nexstar and Tribune will not influence the management of the

Divestiture Stations owned by the other Defendant; and (3) the books, records, competitively sensitive

sales, marketing and pricing information, and decision-making concerning the production,
                                                     8
            Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 9 of 16



distribution, provision, or sale of products or services by or under any of the Divestiture Stations

owned by Tribune will be kept separate and apart from those of the Divestiture Stations owned by

Nexstar and any of Nexstar’s other operations.

       C.      Defendants shall use all reasonable efforts to preserve, in accordance with current

practice, the existing relationships of the Divestiture Stations with each broadcast television spot

advertising customer, with each MVPD retransmitting a broadcast station’s programming, with each

network providing affiliation and programming, and with others doing business with the Divestiture

Stations.

       D.      Defendants shall use all reasonable efforts to maintain at 2018 or previously approved

levels for 2019, whichever are higher, all promotional, advertising, sales, technical assistance,

marketing, and merchandising support for the Divestiture Stations.

       E.      Defendants shall, to the extent permitted by the terms and conditions of the FCC’s

Equity/Debt Plus rule (47 C.F.R. § 73.3555, note 2(i)), provide sufficient working capital and lines

and sources of credit to continue to maintain the Divestiture Stations as economically viable and

competitive, ongoing businesses, consistent with the requirements of Paragraphs V(A) and V(B).

       F.      Defendants shall take all steps necessary to ensure that the Divestiture Assets are fully

maintained in operable condition at no less than current capacity and sales and shall maintain and

adhere to normal repair and maintenance schedules for the Divestiture Assets.

       G.      Defendants shall not, except as part of a divestiture approved by the United States in

accordance with the terms of the proposed Final Judgment, remove, sell, lease, assign, transfer,

pledge, or otherwise dispose of any of the Divestiture Assets.

       H.      Defendants shall provide such support services for each Divestiture Station as the

station requires to operate as an economically viable, competitive, and ongoing provider of

retransmission consent and broadcast television spot advertising. These support services may include
                                                    9
               Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 10 of 16



federal, state, and local municipal regulatory compliance; human resources; legal; finance; software

and computer operations support; and such other services as are required to operate the Divestiture

Assets.

          I.      Defendants shall maintain, in accordance with sound accounting principles, separate,

accurate, and complete financial ledgers, books, and records for each Divestiture Station that report

on a periodic basis, such as the last business day of every month, consistent with past practices, the

assets, liabilities, expenses, revenues, and income of that station.

          J.      Defendants shall take no action that would jeopardize, delay, or impede the sale of the

Divestiture Assets.

          K.      Unless the United States otherwise consents in writing, Defendants’ employees of each

Divestiture Station shall not be transferred or reassigned to other areas within Defendants’ business

before divestiture of that station, except for transfer bids initiated by employees pursuant to

Defendants’ regular, established, job posting policy. Defendants shall provide the United States with

ten calendar days’ notice before such transfer. Upon objection by the United States to such transfer,

such employees shall not be transferred or reassigned.

          L.      Defendants, subject to the approval of the United States, shall appoint a person or

persons to oversee each Divestiture Station, and who will be responsible for Defendants’ compliance

with this section. This person(s) shall have complete managerial responsibility for the respective

Divestiture Stations, subject to the provisions of this Final Judgment. In the event such person(s) is

unable to perform his or her duties, Defendants shall appoint, subject to the approval of the United

States, a replacement within ten business days. Should Defendants fail to appoint a replacement

acceptable to the United States within this time period, the United States shall appoint a replacement.




                                                     10
            Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 11 of 16



       M.      Defendants shall take no action that would interfere with the ability of any trustee

appointed pursuant to the Final Judgment to complete the divestitures pursuant to the Final Judgment

to an Acquirer or Acquirers acceptable to the United States.

    VI. DURATION OF HOLD SEPARATE AND ASSET PRESERVATION OBLIGATIONS

          Defendants’ obligations under Section V of this Hold Separate Stipulation and Order shall

  remain in effect until (1) consummation of the divestitures required by the proposed Final

  Judgment or (2) further order of the Court. If the United States voluntarily dismisses the Complaint

  in this matter, Defendants are released from all further obligations under this Hold Separate

  Stipulation and Order.




                                                   11
Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 12 of 16
          Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 13 of 16




FOR PLAINTIFF STATE OF ILLINOIS:

KWAME RAOUL
Attorney General
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�H?ibeth L. Maxeiner
Assistant Attorney General, Antitrust Bureau
Office of the Illinois Attorney General
100 West Randolph Street
Chicago, Illinois 60601
Phone: 312-814-5470
Facsimile: 312-814-4209
E-mail: emaxeiner@atg.state.il.us




                                               13
Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 14 of 16




                              14
Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 15 of 16




                              15
       Case 1:19-cv-02295-DLF Document 14 Filed 08/19/19 Page 16 of 16



                                         ORDER

IT IS SO ORDERED by the Court, this 19 day of August, 2019.



                                                    ________________________
                                                    DABNEY L. FRIEDRICH
                                                    United States District Judge




                                           16
